Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.16 Filed 01/09/23 Page 1 of 15




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

RAYMOND BARTON,                              )
                                             )
             Plaintiff,                      )     Civil Action No. 23-10051

                                             )
v.                                           )     Hon.
                                             )
SHELDON NEELEY, and                                )
CITY OF FLINT, MICHIGAN                      )
                                             )
             Defendants.                     )
                                             )


                          FIRST AMENDED COMPLAINT

      For his complaint against Defendants Sheldon Neeley and the City of Flint,

Michigan, Plaintiff Raymond Barton, by and through his counsel, Arnold E. Reed &

Associates, P.C., alleges the following:

                                     Overview

      1.     As a firefighter and Fire Chief, Plaintiff Raymond Barton (“Chief

Barton”) served Defendant City of Flint (“the City”) for more than four decades,

regularly risking his own life to protect the City’s residents. In 2022, the City’s

mayor, Defendant Sheldon Neeley (“Mayor Neeley”) fired Chief Barton because he

refused to serve Mayor Neeley’s personal, political interests by lying to the public

in a cover-up of gross malfeasance and fraudulent conduct by two firefighters, which
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.17 Filed 01/09/23 Page 2 of 15




resulted in the death of two children. Chief Barton’s discharge violated his federal

rights, including his free-speech rights under the First Amendment, and the public

policy of Michigan. In addition, Mayor Neeley’s wrongful conduct constituted

tortious interference with Chief Barton’s contractual relationship with the City.

Chief Barton brings this action to seek redress from his personal injuries and to

vindicate the public’s interest in honest and transparent conduct by the public

servants who have the duty to protect the public’s health safety.

                         Parties, Jurisdiction and Venue

      2.     Plaintiff Raymond Barton lives and conducts business in Genesee

County, Michigan.

      3.     Defendant City of Flint is a Michigan municipal corporation located in

Genesee County, Michigan.

      4.     Defendant Sheldon Neeley currently serves as the Mayor of the City

and lives and conducts business in Genesee County, Michigan.

      5.     With respect to Chief Barton’s claims under federal law, this Court has

subject-matter jurisdiction pursuant to 28. U.S.C. § 1331 and 28 U.S.C. 1343(a)(4).

With respect to Chief Barton’s claims under Michigan law, this Court has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 because Chief Barton’s state

and federal claims are part of the same case or controversy.




                                         2
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.18 Filed 01/09/23 Page 3 of 15




       6.     This Court has personal jurisdiction over the City and Mayor Neeley

because they are located and conduct business within this judicial district.

       7.     Venue is proper in this Court under 28 U.S.C. § 1391 because at least a

substantial part of the events or omissions giving rise to Chief Barton’s causes of

action occurred in this judicial district.



                                  Factual Background

       8.     Chief Barton is a life-long resident of the City and has devoted his life

to public service, protecting the health and safety of the people of Flint.

       9.     Chief Barton began working as a firefighter for the City’s fire

department in 1987, retiring from that position in 2014. In 2016, at the request of the

City’s then-mayor, Karen Weaver, he returned to the fire department to serve as Fire

Chief, continuing to lead the department until 2022.

       10.    Throughout his service over more than three decades in the fire

department, he was never subject to any discipline and has no negative remarks

against him in his employment record.

       11.    As a result of his public service and his spotless record, Barton is loved

and well-respected throughout Flint and Genesee County.

       12.    All of this began to unravel for Chief Barton at the end of May 2022,

after a residential fire in the City.



                                             3
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.19 Filed 01/09/23 Page 4 of 15




      13.      On May 28, 2022, a two-alarm electrical fire broke out in a house on

Pulaski Street. Upon information and belief, three fire trucks and two squads were

dispatched to the scene. All together, six firefighters who arrived at the fire. All six

of those firefighters were informed that there were probably residents still in the

house.

      14.      The fire at the house started downstairs and was primarily confined to

a sofa chair. The flames had vented out of a nearby window, which helped preserve

visibility on both the upstairs and downstairs levels of the house.

      15.      Two of the firefighters, Fire Sgt. Daniel Sniegocki and Michael Zlotek

entered the home. At first, Sniegocki used a hose to fight the fire on the first floor,

and he directed Zlotek to go to the second floor to conduct a search for any persons

in the home.

      16.      After a while, Sniegocki went upstairs to assist Zlotek with the search.

Both firefighters claimed to have thoroughly searched all of the rooms on the upper

level. Zlotek claimed that they used infrared equipment and thermal imaging

cameras during the search, to enhance their ability to find persons who might not be

visible to the naked eye. After claiming to have conducted a thorough and complete

search, both firefighters came down to the first floor and told the other firefighters

that the house was all clear, with “no entrapment,” which meant that there were no

people in the house.



                                           4
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.20 Filed 01/09/23 Page 5 of 15




      17.    At that point, a second set of firefighters entered the home, went

upstairs, and immediately found ZM , age 12, and LM , age 9, in a bedroom. ZM

and LM were brothers who lived in the home. The firefighters found LM on the floor

in the doorway of their shared bedroom; ZM was lying in the bed in that room.

Neither boy was covered by any objects or obstructions; they were visible to the

naked eye. The boys were discovered approximately seven minutes after Sniegocki

and Zlotek had asserted that the house was all clear.

      18.    It was the next day when Chief Barton learned about the fire on Pulaski

Street and about Sniegocki’s and Zlotek’s failure to find the two boys. In light of all

of the available information about the fire, he recognized that Sniegocki and Zlotek

must have been lying about what they did to search the house because, if they had

conducted the search as they claimed, they would have found ZM and LM. Shortly

thereafter, Chief Barton contacted Mayor Neeley to discuss what he had learned

about the fire and about Sniegocki’s and Zlotek’s gross misconduct and malfeasance.

Chief Barton also continued to investigate the matter.

      19.    Sniegocki and Zlotek did not cooperate with the investigation. They

initially refused to give complete reports about their actions at the fire; and when

they did finally submit their reports, Chief Barton concluded that they were false.

Chief Barton asked the two firefighters to correct their reports to include information



                                          5
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.21 Filed 01/09/23 Page 6 of 15




about how they had made mistakes in looking for the two children, but they informed

Chief Barton that they were unwilling to correct the factual misrepresentations in

their official reports.

       20.    On the basis of Sniegocki’s and Zlotek’s dishonesty and failure to fulfill

their duties, Chief Barton recommended that the two firefighters be suspended

without pay pending a final investigation and that they be discharged at the

conclusion of that investigation.

       21. When Chief Barton informed the city council and other city officials of

his recommendations, Mayor Neeley instructed Chief Barton to change his factual

findings and recommendations.

       22.    Mayor Neeley wanted Chief Barton to alter official reports to disguise

the firefighters’ misconduct, suspend the firefighters with pay, and drop his

recommendation that they be discharged.

       23.    Mayor Neeley informed Chief Barton that he was up for re-election and

that his wife was up for election for state representative and that both of them needed

the support of the firefighters’ union.

       24.    Mayor Neeley wanted to cover up Sniegocki’s and Zlotek’s

wrongdoing and fraud for the sole purpose of winning personal political support

from the firefighter’s union.




                                           6
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.22 Filed 01/09/23 Page 7 of 15




      25.    In response, Chief Barton told Mayor Neeley that he served the citizens

of Flint and had a duty to be truthful in the performance of his job as Fire Chief; and,

in his personal capacity, Chief Barton was unwilling to make false statements or

profess professional judgments that he did not actually hold.

      26.    In particular, Chief Barton was unwilling to participate in a cover-up of

firefighter misconduct that was likely motivated by racism.

      27.    Chief Barton also advised Mayor Neeley that dishonesty about the

firefighters’ conduct would be problematic for another reason: ZM and LM’s mother

was planning a lawsuit and any false statements about the fire and the firefighters’

conduct were likely to be exposed in the course of the legal process.

      28.    Chief Barton informed Mayor Neeley that he would not lie if he was

called upon to make statements or answer questions under oath in the litigation

brought by ZM and LM’s mother.

      29.    Mayor Neeley continued to insist that Chief Barton change his

recommendations and permit the firefighters to make false statements in the official

reports about their conduct at the fire.

      30.    Chief Barton continued to refuse to join Mayor Neeley’s cover-up. In

October, Chief Barton learned that Mayor Neeley that had unilaterally and

surreptitiously changed the official recommendation that was attributed to Chief

Barton.



                                           7
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.23 Filed 01/09/23 Page 8 of 15




      31.    Rumors started to circulate in Flint about the recommendation

regarding Sniegocki and Zlotek.

      32.    Mayor Neeley instructed Chief Barton to make a public announcement

saying that he initiated the change and agreed with it.

      33.    Chief Barton refused, and Mayor Neeley continued to insist that Chief

Barton had to make a public statement that falsely represented what his findings and

recommendations had been.

      34.    Once again, Chief Barton reminded Mayor Neeley he would not make

false statements, either to the public or in the legal proceedings arising from the

death of the two boys.

      35.    Chief Barton was also reluctant to make public statements that would

paper over the obvious racial dynamic of the controversy about Sniegocki and

Zlotek.

      36.    Members of ZM and LM’s family, including their parents, attended a

city council meeting and demanded answers from Chief Barton and others about

what was being done to discipline Sniegocki and Zlotek. They accused Chief Barton

of lying to them and of breaking his promise to hold the firefighters responsible for

their misconduct.




                                          8
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.24 Filed 01/09/23 Page 9 of 15




      37.     Chief Barton addressed the meeting and explained that he had not

changed his recommendation and that he wanted to discharge Sniegocki and Zlotek

from the fire department.

      38.    Chief Barton believed that an honest response to these citizen

complaints was necessary to maintain public confidence in the fire department.

      39.    Given that the City had a large African-American population and, and

given the history of racism by City officials, Chief Barton believed that public

confidence in the fire department would be undermined if City officials failed to

acknowledge readily apparent racial issues.

      40.    Nine days after winning re-election, Mayor Neeley called Chief Barton

into his office and told Chief Barton to resign as fire chief or be fired because Chief

Barton had refused to serve Mayor Neeley’s personal interests by participating in

the cover-up of the firefighters’ misconduct.

      41.    Chief Barton refused to resign, telling Mayor Neeley that he had done

nothing wrong.

      42.     Mayor Neeley then fired Chief Barton because Chief Barton had been

unwilling to make false statements to the public about what he had actually

recommended regarding Sniegocki and Zlotek and about the substance and

circumstances of the Fire Department’s investigation.

      Count I – Deprivation of Federal Rights under Color of State Law
                             (42 U.S.C. § 1983)

                                          9
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.25 Filed 01/09/23 Page 10 of 15




      43.    Chief Barton incorporates the foregoing paragraphs by reference.

      44.    At all times relevant to this Complaint, Mayor Neeley was acting under

color of state law.

      45.    Mayor Neeley violated Chief Barton’s federal rights, including his

rights under the First Amendment to the United States Constitution, by, among other

things:

             (a).     asserting that Chief Barton’s continued employment with the

      City was conditioned on his willingness to serve Mayor Neeley’s personal

      political interests by making false statements to the public;

             (b).     coercing Chief Barton into making false statements of fact and

      opinion in the service of a cover-up that was contrary to the public interest but

      that was politically advantageous for Mayor Neeley;

             (c).     discharging Chief Barton from employment with the City

      because he refused to make false statements or to participate in Mayor

      Neeley’s cover-up of Sniegocki’s and Zlotek’s malfeasance in the May 28,

      2022 house fire, which caused the death of ZM and LM.

      46.    As a direct and proximate result of the deprivation of rights by Mayor

Neeley, Chief Barton has been placed in financial distress and suffered a loss of

earnings, benefits, earning and benefit capacity, and the ability to work, and he will

continue to suffer such losses in the future. In addition, Chief Barton has been

                                          10
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.26 Filed 01/09/23 Page 11 of 15




required to employ the services of an attorney to bring this lawsuit and will suffer

additional damages in the future.

      WHEREFORE, Chief Barton respectfully requests that this Court award him

monetary damages in excess of $75,000.00, to wit: $10,000,000.00 including

punitive or exemplary damages, as well as costs, and any attorneys’ fees and any

other legal and any other equitable relief to which he may be entitled. Chief Barton’s

monetary damages include, but are not limited to:

             (a).   economic losses, such as lost earnings, benefits, earning and

      benefit capacity, and the ability to work;

             (b).   all of his compensable litigation costs in this case, including

      expert witness fees, copying charges, and filing fees, among other things; and

             (c).   his attorneys’ fees in this case that can be taxed as costs.

   Count II – Wrongful Discharge in Violation of Michigan’s Public Policy

      47.    Chief Barton incorporates the foregoing paragraphs by reference.

      48.    At all times relevant to this Complaint, Chief Barton engaged in

conduct protected under the public policy of the State of Michigan. Among other

things, such conduct included:

             (a).   assuring that the official reports of the City’s Fire Department

      included truthful information;




                                          11
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.27 Filed 01/09/23 Page 12 of 15




             (b).    making accurate and truthful findings about the conduct of

      firefighters, especially with respect to conduct that directly affected the health

      and safety of members of the public;

             (c).    developing policy recommendations for the Fire Department on

      the basis of accurate and truthful information; and

             (d).    making truthful statements to the public about the nature of and

      reasons for the Fire Department’s decisions regarding policy and personnel.

      49.    Defendants discharged Chief Barton from his employment as Fire

Chief because Chief Barton engaged in conduct protected by the public policy of the

State of Michigan.

      50.    Defendants’ discharge of Chief Barton violated the public policy of the

State of Michigan.

      51.    As a direct and proximate result of Defendants’ violation of public

policy, Chief Barton has been placed in financial distress and suffered a loss of

earnings, benefits, earning and benefit capacity and the ability to work, and he will

continue to suffer such losses in the future. In addition, Chief Barton has been

required to employ the services of an attorney to bring this lawsuit and will suffer

additional damages in the future.

      WHEREFORE, Chief Barton respectfully requests that this Court award him

monetary damages in excess of $75,000.00, to wit: $10,000,000.00 including



                                          12
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.28 Filed 01/09/23 Page 13 of 15




punitive or exemplary damages, as well as costs, and any attorneys’ fees and any

other legal and any other equitable relief to which he may be entitled. Chief Barton’s

monetary damages include, but are not limited to:

             (a).   economic losses, such as lost earnings, benefits, earning and

      benefit capacity, and the ability to work;

             (b).   all of his compensable litigation costs in this case, including

      expert witness fees, copying charges, and filing fees, among other things; and

             (c).   his attorneys’ fees in this case that can be taxed as costs.

                    Count III – Tortious Interference with Contract

      52.    Chief Barton incorporates the foregoing paragraphs by reference.

      53.    At all times relevant to this Complaint, Chief Barton had a contractual

relationship with the City.

      54.    At all times relevant to this Complaint, Mayor Neeley knew about Chief

Barton’s contractual relationship with the City.

      55.    Mayor Neeley intentionally engaged improper conduct while knowing

that such conduct would likely cause the termination of Chief Barton’s contract with

the City.

      56.    As a direct and proximate result of Mayor Neeley’s tortious

interference with Chief Barton’s contract, Chief Barton has been placed in financial

distress and suffered a loss of earnings, benefits, earning and benefit capacity and



                                          13
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.29 Filed 01/09/23 Page 14 of 15




the ability to work, and he will continue to suffer such losses in the future. In

addition, Chief Barton has been required to employ the services of an attorney to

bring this lawsuit and will suffer additional damages in the future.

      WHEREFORE, Chief Barton respectfully requests that this Court award him

monetary damages in excess of $75,000.00, to wit: $10,000,000.00 including

punitive or exemplary damages, as well as costs, and any attorneys’ fees and any

other legal and any other equitable relief to which he may be entitled. Chief Barton’s

monetary damages include, but are not limited to:

             (a).   economic losses, such as lost earnings, benefits, earning and

      benefit capacity, and the ability to work;

             (b).   all of his compensable litigation costs in this case, including

      expert witness fees, copying charges, and filing fees, among other things; and

      (c).   his attorneys’ fees in this case that can be taxed as costs.

                                        Respectfully submitted,

                                        /s/   Arnold E. Reed
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Dated: January 9, 2023

                                          14
Case 2:23-cv-10051-NGE-KGA ECF No. 2, PageID.30 Filed 01/09/23 Page 15 of 15




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

RAYMOND BARTON,                              )
                                             )
            Plaintiff,                       )     Civil Action No. 23-10051

                                             )
v.                                           )     Hon.
                                             )
SHELDON NEELEY, and                                )
CITY OF FLINT, MICHIGAN                      )
                                             )
            Defendants.                      )
                                             )



                          First Amended Jury Demand

      Plaintiff Raymond Barton demands a trial by jury on all issues so triable.



                                      Respectfully submitted,

                                      /s/   Arnold E. Reed
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Dated: January 9, 2023



                                        15
